      Case 4:21-cv-04125 Document 17 Filed on 03/25/22 in TXSD Page 1 of 1
                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                             UNITED STATES DISTRICT COURT                          March 27, 2022
                              SOUTHERN DISTRICT OF TEXAS                         Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


YERACHMIEL CAGEN,                             §
                                              §
        Plaintiff,                            §
                                              §
VS.                                           §   CIVIL ACTION NO. 4:21-CV-04125
                                              §
CECILE YOUNG,                                 §
                                              §
        Defendant.                            §

ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION TO FILE ITS MOTION
 TO DISMISS PLAINTIFF’S ORIGINAL VERIFIRED COMPALINT OUT OF TIME

       After reviewing defendant’s unopposed motion to file defendant’s motion to dismiss the

plaintiff’s Original Verified Complaint out of time (Dkt. No. 16), and finding good cause

presented, the Court GRANTS the motion. The defendant is granted leave to file its motion to

dismiss on March 14, 2022.

       It is SO ORDERED.

       SIGNED on March 25, 2022, at Houston, Texas.


                                                  _________________________________
                                                  Kenneth M. Hoyt
                                                  United States District Judge




1/1
